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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
                  Plaintiff,           )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )               Case No. 3:18-cv-966-SMY-MAB
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA, INC., )
                                       )
                                       )
                  Defendants.          )

                               NOTICE OF MANUAL FILING

        PLEASE TAKE NOTICE that Defendants Take-Two Interactive Software, Inc., 2K
 Games, Inc., 2K Sports, Inc., and Visual Concepts Entertainment have manually filed the
 following document or item:

        Appendix C to Exhibit 1, Mark Little Declaration - Video Recording of WWE 2K18
        Gameplay

        This document has not been filed electronically because:

        _X_ The document or item cannot be converted to an electronic format

        ___ Defendants are excused from filing this document or item by court order

        ___ Other: ____________________________________________________________

        The document or item has been manually served on all parties.
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  Dated: November 8, 2019          Respectfully submitted,

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